             Case 25-90105 Document 155 Filed in TXSB on 04/07/25 Page 1 of 11




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION


    In re:                                                       Chapter 11

    PLENTY UNLIMITED TEXAS LLC, et al., 1                        Case No. 25-90105 (CML)

                             Debtors.                            (Jointly Administered)


                      NOTICE OF (A) POTENTIAL EXECUTORY
                CONTRACTS AND UNEXPIRED LEASES TO BE ASSUMED
           BY THE DEBTORS PURSUANT TO THE PLAN, (B) CURE AMOUNTS,
        IF ANY, AND (C) RELATED PROCEDURES IN CONNECTION THEREWITH

        On March 24, 2025, the United States Bankruptcy Court for the Southern District of Texas
(the “Bankruptcy Court”) entered an order [Docket No. 56] and as modified on April 1, 2025
[Docket No. 123] (the “Disclosure Statement Order”): (a) authorizing the above-captioned debtors
and debtors in possession (collectively, the “Debtors”), to solicit acceptances for the Joint
Chapter 11 Plan of Reorganization of Plenty Unlimited Texas LLC and Its Debtor Affiliates
[Docket No. 26] (as such may be modified, amended, or supplemented from time to time hereafter,
including all exhibits and supplements thereto, the “Plan”); (b) conditionally approving the
Disclosure Statement Relating to the Joint Chapter 11 Plan of Reorganization of Plenty Unlimited
Texas LLC and Its Debtor Affiliates [Docket No. 27] (as such may be modified, amended, or
supplemented from time to time hereafter, including all exhibits and supplements thereto, the
“Disclosure Statement”) 2 as containing “adequate information” pursuant to section 1125 of the
Bankruptcy Code; (c) approving the solicitation materials and documents to be included in the
solicitation packages (the “Solicitation Packages”); and (d) approving procedures for soliciting,
receiving, and tabulating votes on the Plan and for filing objections to the Plan.

       The Debtors hereby file this notice (the “Cure Schedule”), which indicates the potential
Executory Contracts and Unexpired Leases that the Debtors may potentially assume in connection
with the Plan, as listed in Exhibit 1 attached hereto. 3
1
  The Debtors in these chapter 11 cases, together with the last four digits of each of the Debtors’ federal tax
identification numbers, are: Plenty Unlimited Texas LLC (3500); Plenty Unlimited Inc. (0916); MJNN LLC (N/A);
White Farms LLC (N/A); Blue Gardens LLC (8487); Bright Agrotech, Inc. (4106); and P F2 VA LLC (9633). The
Debtors’ service address is 1461 Commerce Drive, Laramie, WY 82070.
2
 Capitalized terms used but not otherwise defined herein shall have the same meaning as set forth in the Plan or the
Disclosure Statement, as applicable.
3
  Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on the Cure Schedule, nor
anything contained in the Plan or each Debtor’s schedule of assets and liabilities, shall constitute an admission by the
Debtors that any such contract or lease is in fact an Executory Contract or Unexpired Lease capable of assumption,
that any Debtor or the Reorganized Debtor has any liability thereunder, or that such Executory Contract or Unexpired
Lease is necessarily a binding and enforceable agreement. Further, the Debtors or the Reorganized Debtors, as
applicable, expressly reserve the right to (a) alter, amend, modify, or supplement the Potential Assumption Schedule
        Case 25-90105 Document 155 Filed in TXSB on 04/07/25 Page 2 of 11




        The Debtors’ determination to assume the agreements identified on the Cure Schedule is
subject to ongoing review, revision, and further negotiation among the Debtors and interested
parties with respect thereto, and to the extent the Debtors decide to reject any agreements, such
agreements shall be included on the Debtors’ Rejected Executory Contracts and Unexpired Leases
Schedule, to be filed with the Plan Supplement, on or before May 1, 2025.

       The hearing at which the Court will consider the adequacy of the Disclosure Statement and
Confirmation of the Plan (the “Combined Hearing”) will commence on May 14, 2025, at
1:00 p.m., prevailing Central Time, before the Honorable Christopher M. Lopez, in the United
States Bankruptcy Court for the Southern District of Texas, located at 515 Rusk Street,
Courtroom 401, Houston, Texas, 77002. 4

       Section 365(b)(1) of the Bankruptcy Code requires a chapter 11 debtor to cure, or provide
adequate assurance that it will promptly cure, any defaults under executory contracts and
unexpired leases at the time of assumption. Accordingly, the Debtors have conducted a thorough
review of their books and records and have determined the amounts required to cure defaults, if
any, under the Executory Contract(s) and Unexpired Lease(s), which amounts are listed in
Exhibit 1 hereto. Please note that if no amount is stated for a particular Executory Contract or
Unexpired Lease, the Debtors propose no cure amount ($0.00) for such contract or lease.

     PLEASE TAKE NOTICE THAT THE DEBTORS ARE PROPOSING A GLOBAL
COMPROMISE AND SETTLEMENT WITH RESPECT TO HOLDERS OF CLAIMS IN
CLASS 4 (VIRGINIA MECHANIC’S LIEN CLAIMS), PURSUANT TO WHICH ANY
CONTRACT BETWEEN A HOLDER OF A MECHANIC’S LIEN CLAIM AND THE
DEBTORS SHALL BE DEEMED TO HAVE A CURE AMOUNT OF $0.00 (WITH THE
HOLDER OF SUCH CLAIM RECEIVING THE TREATMENT PROVIDED FOR IN
ARTICLE III.B.4 OF THE PLAN IN FULL AND FINAL SATISFACTION OF SUCH
CLAIM). ANY COUNTERPARTY TO SUCH EXECUTORY CONTRACT THAT FAILS
TO OBJECT TIMELY TO THE PROPOSED ASSUMPTION WILL BE DEEMED TO
HAVE CONSENTED TO SUCH ASSUMPTION AND DEEMED TO RELEASE ANY
CLAIM OR CAUSE OF ACTION FOR ANY MONETARY DEFAULTS UNDER SUCH
EXECUTORY CONTRACT.

      Absent any pending dispute and except as otherwise provided herein or in the Plan, the
monetary amounts required to cure any existing defaults arising under the Executory Contract(s)


or the Rejected Executory Contract and Unexpired Leases Schedule identified in Article V of the Plan and in the Plan
Supplement through the Effective Date, or, if later, after a determination is made by the Court regarding a disputed
cure Claim amount, and (b) contest any Claim (or cure amount) asserted in connection with assumption of any
Executory Contract or Unexpired Lease.
4
  The Debtors may elect to pursue the sale transaction contemplated by the Debtors’ Emergency Motion for Entry of
an Order (I)(A) Approving Bid Procedures and Authorizing Sale Transaction; (B) Approving the Selection of Stalking
Horse Bidder and Authorizing the Debtors’ Entry Into the Stalking Horse Agreement; (C) Scheduling Auction and
Sale Hearing; (D) Approving Sale Notices; (E) Approving Assumption and Assignment Procedures; and (II) Granting
Related Relief [Docket No. 31] in lieu of seeking confirmation of the Plan at the Combined Hearing. In such event,
any contract counterparties shall be bound by the cure amounts and procedures set forth in the applicable sale
transaction-related assumption notice.


                                                         2
         Case 25-90105 Document 155 Filed in TXSB on 04/07/25 Page 3 of 11




and Unexpired Lease(s) identified in Exhibit 1 will be satisfied, pursuant to section 365(b)(1) of
the Bankruptcy Code, by payment of the default amount in Cash on the Effective Date, subject to
the limitations described in Article V of the Plan, or on such other terms as the parties to such
Executory Contracts or Unexpired Leases may otherwise agree (including as indicated in the
preceding paragraph). In the event of a dispute, however, payment of the cure amount would be
made following the entry of a final order(s) resolving the dispute and approving the assumption.
If an objection to the proposed assumption or related cure amount is sustained by the Court,
however, the Debtors may elect to reject such Executory Contract or Unexpired Lease in lieu of
assuming it. 5

                                                     Objections

        The deadline for filing objections to the Plan is May 6, 2025, at 4:00 p.m. (prevailing
Central Time) (the “Plan Objection Deadline”). Any objection to the Plan (a “Plan Objection”)
must: (a) be in writing; (b) conform to the Bankruptcy Code, Bankruptcy Rules, the Bankruptcy
Local Rules, and any orders of the Court; (c) state, with particularity, the basis and nature of the
objection(s) and, if practicable, propose modification(s) to the Plan that would resolve such
objection; and (d) be filed with the Court on or before the Plan Objection Deadline.

        The deadline for filing objections relating solely to any assumption of an Executory
Contract or Unexpired Lease (including the proposed cure amount) as contemplated by this Cure
Notice or in the Plan Supplement is May 6, 2025, at 4:00 p.m. (prevailing Central Time) (the
“Executory Contract and Unexpired Lease Assumption Objection Deadline”). Any such objection
(an “Assumption Objection”) to the Plan must: (a) be in writing; (b) comply with the applicable
provisions of the Bankruptcy Rules, Local Rules, and the Procedures for Complex Cases in the
Southern District of Texas; (c) state, with particularity, the basis and nature of the objection(s);
and (d) be filed with the Court on or before the Executory Contract and Unexpired Lease
Assumption Objection Deadline and be served on (i) Sidley Austin LLP, 787 7th Ave, New York,
NY 10019, Attn: Anthony Grossi (agrossi@sidley.com), Ameneh Bordi (abordi@sidley.com) and
Maegan Quejada (mquejada@sidley.com); (ii) counsel to the official committee of unsecured
creditors, if any; (iii) the United States Trustee for the Southern District of Texas, 515 Rusk Street,
Suite 3516 Houston, TX 77002, Attn: Andrew Jiménez, (Andrew.Jimenez@usdoj.gov);
(iv) counsel to the Stalking Horse Bidder; and (v) counsel to the Successful Bidder(s) at the
address provided in the purchase agreement of the Successful Bid (collectively, the “Objection
Notice Parties”).

        Any Assumption Objections in connection with the assumption of the Executory
Contract(s) and Unexpired Lease(s) identified above and/or related cure or adequate assurances
proposed in connection therewith that remain unresolved as of the Combined Hearing will be heard
at a date fixed by the Court, to be determined.




5
  The Plan provisions referenced herein are for summary purposes only and do not include all provisions of the Plan
that may affect your rights. If there is any inconsistency between the provisions set forth herein and the Plan, the Plan
governs.


                                                           3
       Case 25-90105 Document 155 Filed in TXSB on 04/07/25 Page 4 of 11




 PLEASE TAKE NOTICE THAT any counterparty to an Executory Contract or
 Unexpired Lease that fails to object timely to the proposed assumption or cure amount
 will be deemed to have assented to such assumption and cure amount.

     PLEASE TAKE FURTHER NOTICE THAT ASSUMPTION OF ANY
EXECUTORY CONTRACT OR UNEXPIRED LEASE PURSUANT TO THE PLAN OR
OTHERWISE SHALL RESULT IN THE FULL RELEASE AND SATISFACTION OF
ANY CLAIMS OR DEFAULTS, WHETHER MONETARY OR NONMONETARY,
INCLUDING DEFAULTS OF PROVISIONS RESTRICTING THE CHANGE IN
CONTROL OR OWNERSHIP INTEREST COMPOSITION OR OTHER BANKRUPTCY-
RELATED DEFAULTS, ARISING UNDER ANY ASSUMED EXECUTORY CONTRACT
OR UNEXPIRED LEASE AT ANY TIME BEFORE THE DATE OF THE DEBTORS OR
REORGANIZED DEBTORS ASSUME SUCH EXECUTORY CONTRACT OR
UNEXPIRED LEASE. ANY PROOFS OF CLAIM FILED WITH RESPECT TO AN
EXECUTORY CONTRACT OR UNEXPIRED LEASE THAT HAS BEEN ASSUMED
SHALL BE DEEMED DISALLOWED AND EXPUNGED, WITHOUT FURTHER
NOTICE TO OR ACTION, ORDER, OR APPROVAL OF THE BANKRUPTCY COURT.

         A copy of the Disclosure Statement Order, the Plan and Disclosure Statement (including
the Plan Supplement), the Solicitation Procedures, Potential Assumption Schedule, or related
documents, such materials are available free of charge by: (a) accessing the Debtors’ restructuring
website at https://cases.stretto.com/PlentyUnlimited; (b) writing to Plenty Unlimited Texas LLC,
et al., Ballot Processing, c/o Stretto, 410 Exchange, Suite 100, Irvine, CA 92602; (c) calling (855)
994-4202        (toll-free)    or     (847)    610-7823      (international);   or     (d) emailing
TeamPlentyUnlimited@stretto.com (with “Plenty Solicitation” in the subject line). You may also
obtain copies of any pleadings filed in the Chapter 11 Cases for a fee via PACER at
https://ecf.txsb.uscourts.gov/.

 ARTICLE VIII OF THE PLAN CONTAINS RELEASE, EXCULPATION, AND
 INJUNCTION PROVISIONS, AND ARTICLE VIII.D CONTAINS A THIRD-PARTY
 RELEASE. THUS, PARTIES ARE ADVISED TO REVIEW AND CONSIDER THE
 PLAN CAREFULLY BECAUSE THEIR RIGHTS MIGHT BE AFFECTED
 THEREUNDER.




                                                 4
        Case 25-90105 Document 155 Filed in TXSB on 04/07/25 Page 5 of 11




Dated: April 7, 2025
Houston, Texas

/s/ Duston K. McFaul
SIDLEY AUSTIN LLP                             WILSON SONSINI GOODRICH &
Duston McFaul (TX Bar No. 24003309)           ROSATI
1000 Louisiana Street, Suite 5900             Erin Fay (admitted pro hac vice)
Houston, Texas 77002                          222 Delaware Ave #800
Telephone: (713) 495-4500                     Wilmington, DE 19801
Facsimile: (713) 495-7799                     Telephone: (302) 304-7600
Email: dmcfaul@sidley.com                     Facsimile: (650) 493-9301
                                              Email: efay@wsgr.com
-and-
                                              Proposed Co-Counsel to the Debtors
Anthony Grossi (admitted pro hac vice)        and Debtors in Possession
Ameneh Bordi (admitted pro hac vice)
Weiru Fang (admitted pro hac vice)
787 Seventh Avenue
New York, New York 10019
Telephone: (212) 839-5300
Facsimile: (212) 839-5599
Email: agrossi@sidley.com
       abordi@sidley.com
       weiru.fang@sidley.com

Proposed Co-Counsel to the Debtors and
Debtors in Possession




                                         5
Case 25-90105 Document 155 Filed in TXSB on 04/07/25 Page 6 of 11




                            Exhibit 1
                          Case 25-90105 Document 155 Filed in TXSB on 04/07/25 Page 7 of 11


             Debtor                           Counter Party                                              Description of assumed contract or lease                                     Cure Amount


                                                                                 Outstanding proposals and statements of work issued under the Master Services Agreement,
                                  Advanced Chemical Transport, Inc (d/b/a       including sampling and VOC analysis, facility closure planning and reporting, deactivation of
Plenty Unlimited Inc.                                                                                                                                                                            TBD
                                              ACTenviro)                       permits, lab pack and profiled waste transportation and disposal, and associated supplies, labor,
                                                                                                                   transportation, and fees.

                                                                             Services agreement, all outstanding sales quotes, proposals or purchase orders, and all other service
Plenty Unlimited Inc.                           AdvantaStaff                                                                                                                                       $0
                                                                                                           and ancillary agreements related thereto


Plenty Unlimited Inc.                    Aetna Health of California                             Insurance policy, and all ancillary agreements related thereto                                     $0


                                                                              Software Subscription Agreement, all outstanding sales quotes and purchase orders, and all other
Plenty Unlimited Inc.                          AgileBits inc.                                                                                                                                  $5,921
                                                                                                     service and ancillary agreements related thereto


Plenty Unlimited Inc.                           ALLSOP Inc                             Lease Agreement and all amendments and ancillary agreements related thereto                            $24,674


                                                                             Services agreement, all outstanding sales quotes, proposals or purchase orders, and all other service
Plenty Unlimited Inc.                       Aon Consulting Inc.                                                                                                                                    $0
                                                                                                           and ancillary agreements related thereto

Plenty Unlimited Inc. / P F2 VA                                                 All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
                                    Barry Wehmiller Design Group, Inc.                                                                                                               See Plan Art. V.D
LLC                                                                                                               agreements related thereto


Plenty Unlimited Inc.                        Black Hills Energy                              Utility Service Contract and all ancillary agreements related thereto                             $2,169


                                                                             Services agreement, all outstanding sales quotes, proposals or purchase orders, and all other service
P F2 VA LLC                                   C&G AG , LLC                                                                                                                                       TBD
                                                                                                           and ancillary agreements related thereto

                                                                             Renewal order for fiber-based WAN data services under existing service terms, including monthly
                                  CenturyLink Communications LLC (dba
Plenty Unlimited Inc.                                                         recurring charges and governed by the existing master service agreement and applicable service                   $7,490
                                                Lumen)
                                                                                                                         exhibits.

                                                                                Service order for internet and IP services, including fiber internet and static IPs, governed by
Plenty Unlimited Inc.             Charter Communications Operating, LLC                                                                                                                        $3,191
                                                                                    Spectrum’s Enterprise Commercial Terms of Service and related service agreement.

                                                                              Software Subscription Agreement, all outstanding sales quotes and purchase orders, and all other
Plenty Unlimited Inc.                   Circle Internet Services, Inc.                                                                                                                             $0
                                                                                                     service and ancillary agreements related thereto

                                                                            Commercial/Industrial Line Extension Agreement, all outstanding sales quotes, proposals or purchase
P F2 VA LLC                            Columbia Gas of Virginia, Inc                                                                                                                             TBD
                                                                                          orders, and all other service and ancillary agreements related thereto

                                                                              Master Services Agreement and associated Sales Order for dedicated internet access and static IP
                                     Comcast Cable Communications
P F2 VA LLC                                                                   services, governed by Comcast’s Enterprise Services General Terms and Conditions and Product-                    $6,755
                                          Management, LLC
                                                                                                                  Specific Attachments.

                                                                            General Terms and Conditions, all service agreements, outstanding sales quotes and purchase orders,
Plenty Unlimited Inc.             CONTROLLED ENVIRONMENTS INC.                                                                                                                                     $0
                                                                                                        and ancillary agreements related thereto

                                                                                All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
Plenty Unlimited Inc.                  Corporation Service Company                                                                                                                             $5,642
                                                                                                                  agreements related thereto

                                                                              University Services Agreement, all outstanding sales quotes, proposals or purchase orders, and all
Plenty Unlimited Inc.                            CSU Spur                                                                                                                                      $3,100
                                                                                                   other service and ancillary agreements related thereto

Plenty Unlimited Inc. / P F2 VA                                              Master Services Agreement, all outstanding sales quotes and purchase orders, and all other service
                                    Cumming Management Group, Inc.                                                                                                                               TBD
LLC                                                                                                     and ancillary agreements related thereto

                                                                              Software Subscription Agreement, all outstanding sales quotes and purchase orders, and all other
Plenty Unlimited Inc.                          DataDog, Inc.                                                                                                                                   $4,431
                                                                                                     service and ancillary agreements related thereto

                                                                                All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
Plenty Unlimited Inc.                          DBT CLOUD                                                                                                                                           $0
                                                                                                                  agreements related thereto

                                                                              General Terms and Conditions for CapEx purchases, including terms governing purchase orders,
Plenty Unlimited Inc. / P F2 VA
                                           Deca Fabricators LLC                statements of work, supply agreements, pricing, delivery, intellectual property, warranties, and                  TBD
LLC
                                                                                                                       indemnities.

                                                                             Master Services Agreement, all outstanding sales quotes and purchase orders, and all other service
Plenty Unlimited Inc.                             Deel, Inc                                                                                                                                        $0
                                                                                                        and ancillary agreements related thereto

Plenty Unlimited Inc. / P F2 VA                                             General Terms and Conditions, all service agreements, outstanding sales quotes and purchase orders,
                                    Delta Systems Environmental, LLC                                                                                                                             TBD
LLC                                                                                                     and ancillary agreements related thereto

                                                                             Master Services Agreement, all outstanding sales quotes and purchase orders, and all other service
Plenty Unlimited Inc.                         Digital Silk Inc.                                                                                                                                    $0
                                                                                                        and ancillary agreements related thereto




                                                                                               Page 1
                          Case 25-90105 Document 155 Filed in TXSB on 04/07/25 Page 8 of 11


             Debtor                         Counter Party                                            Description of assumed contract or lease                                     Cure Amount


                                                                         Agreement for Electric Service, all outstanding sales quotes, proposals or purchase orders, and all
P F2 VA LLC                           Dominion Energy Virginia                                                                                                                               TBD
                                                                                              other service and ancillary agreements related thereto

                                                                         Master Grower Services Agreement with all executed Plant Orders, quality assurance amendments,
P F2 VA LLC                                  Driscoll's Inc.              service protocols, packaging obligations, and all other ancillary documents, schedules, or change                    $0
                                                                                                       orders issued in connection therewith.

Plenty Unlimited Inc. / P F2 VA                                          Supply Agreement, all outstanding sales quotes, proposals or purchase orders, and all other service
                                   Ecolab Pest Elimination Division                                                                                                                          TBD
LLC                                                                                                  and ancillary agreements related thereto

                                                                         Supply Agreement, all outstanding sales quotes, proposals or purchase orders, and all other service
Plenty Unlimited Inc.                      Ecolab USA Inc                                                                                                                                  $7,546
                                                                                                     and ancillary agreements related thereto

                                                                         Supply Agreement, all outstanding sales quotes, proposals or purchase orders, and all other service
Plenty Unlimited Inc.                         Ecolab, Inc                                                                                                                                  $7,039
                                                                                                     and ancillary agreements related thereto

Plenty Unlimited Inc. / P F2 VA                                             All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
                                        ECS Mid-Atlantic, LLC                                                                                                                    See Plan Art. V.D
LLC                                                                                                           agreements related thereto

Plenty Unlimited Inc. / P F2 VA                                         General Terms and Conditions, all service agreements, outstanding sales quotes and purchase orders,
                                             EMSCO LLC                                                                                                                                       TBD
LLC                                                                                                 and ancillary agreements related thereto

                                                                         Services agreement, all outstanding sales quotes, proposals or purchase orders, and all other service
Plenty Unlimited Inc.                Eppendorf North America, Inc                                                                                                                              $0
                                                                                                       and ancillary agreements related thereto

                                                                            All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
P F2 VA LLC                                 F.G. Pruitt Inc.                                                                                                                                   $0
                                                                                                              agreements related thereto

Plenty Unlimited Inc. / P F2 VA                                          Master Services Agreement, all outstanding sales quotes and purchase orders, and all other service
                                  Facility Dynamics Engineering Corp.                                                                                                                        TBD
LLC                                                                                                 and ancillary agreements related thereto

                                                                           Transportation Services Agreement for domestic and international shipping services, including
Plenty Unlimited Inc.                           FedEx                   pricing terms, earned discount program, surcharge modifications, and obligations relating to the use              $12,648
                                                                                                 of FedEx service platforms and account numbers.

                                                                            All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
Plenty Unlimited Inc.                    FRESHWORKS INC                                                                                                                                   $27,900
                                                                                        agreements related thereto related to the Fresh Service contract, only

                                                                            All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
Plenty Unlimited Inc.                         Github, Inc                                                                                                                                 $30,725
                                                                                                              agreements related thereto

                                                                         Master Services Agreement, all outstanding sales quotes and purchase orders, and all other service
Plenty Unlimited Inc.                 Hickey & Associates, LLC                                                                                                                             $6,625
                                                                                                    and ancillary agreements related thereto

                                                                            All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
Plenty Unlimited Inc.                    High Plains Janitorial                                                                                                                            $7,350
                                                                                                              agreements related thereto

Plenty Unlimited Inc. / P F2 VA                                         General Terms and Conditions, all service agreements, outstanding sales quotes and purchase orders,
                                           IFM Efector, Inc                                                                                                                                  TBD
LLC                                                                                                 and ancillary agreements related thereto

                                                                        Material Transfer Agreement, all outstanding sales quotes, proposals or purchase orders, and all other
Plenty Unlimited Inc.                  Impello Biosciences, Inc                                                                                                                            $5,030
                                                                                                 service and ancillary agreements related thereto

                                                                            All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
Plenty Unlimited Inc.                 Inductive Automation, LLC                                                                                                                                $0
                                                                                                              agreements related thereto

Plenty Unlimited Inc. / P F2 VA                                         General Terms and Conditions, all service agreements, outstanding sales quotes and purchase orders,
                                  Industrial TurnAround Corporation                                                                                                         See Plan Art. V.D
LLC                                                                                                 and ancillary agreements related thereto

                                                                          Software Subscription Agreement, and all other software, service, or ancillary agreements related
Plenty Unlimited Inc.                        Ironclad, Inc.                                                                                                                               $25,450
                                                                                                                     thereto

Plenty Unlimited Inc. / P F2 VA                                         General Terms and Conditions, all service agreements, outstanding sales quotes and purchase orders,
                                   ITW Food Equipment Group LLC                                                                                                             See Plan Art. V.D
LLC                                                                                                 and ancillary agreements related thereto

Plenty Unlimited Inc. / P F2 VA                                          Services agreement, all outstanding sales quotes, proposals or purchase orders, and all other service
                                    Jacobs Engineering Group Inc.                                                                                                                            TBD
LLC                                                                                                    and ancillary agreements related thereto

                                                                            All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
Plenty Unlimited Inc.                    JAMF Software, LLC                                                                                                                                $9,351
                                                                                                              agreements related thereto

                                                                            All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
Plenty Unlimited Inc.               JMP Statistical Discovery, LLC                                                                                                                        $18,816
                                                                                                              agreements related thereto

                                                                            All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
Plenty Unlimited Inc.                   Johnson’s Controls, Inc.                                                                                                                          $13,652
                                                                                                              agreements related thereto




                                                                                           Page 2
                          Case 25-90105 Document 155 Filed in TXSB on 04/07/25 Page 9 of 11


             Debtor                          Counter Party                                                Description of assumed contract or lease                                      Cure Amount



Plenty Unlimited Inc.               Kaiser Foundation Health Plan Inc                            Insurance policy, and all ancillary agreements related thereto                                      $0


Plenty Unlimited Inc. / P F2 VA                                              Supply Agreement, all outstanding sales quotes, proposals or purchase orders, and all other service
                                         Kennerley-Spratling, Inc.                                                                                                                                 TBD
LLC                                                                                                      and ancillary agreements related thereto

                                                                               Project Development and Administration Agreement, lease Agreement and all amendments and
Bright Agrotech, Inc.              Laramie Chamber Business Alliance                                                                                                                                 $0
                                                                                                         ancillary agreements related thereto


Plenty Unlimited Inc.                  Lazy A Land Company, LLC                        Lease Agreement and all amendments and ancillary agreements related thereto                              $29,817


Plenty Unlimited Inc. / P F2 VA                                             General Terms and Conditions, all service agreements, outstanding sales quotes and purchase orders,
                                             Legro USA, Inc.                                                                                                                                       TBD
LLC                                                                                                     and ancillary agreements related thereto

                                                                                All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
Plenty Unlimited Inc.                          Li-Cor, Inc.                                                                                                                                      $2,119
                                                                                                                  agreements related thereto

                                                                               Annual subscription agreement for LinkedIn Learning Hub services, billed for 250 seats, with
Plenty Unlimited Inc.                     LinkedIn Corporation                                                                                                                                  $56,970
                                                                                               invoicing and payment terms set forth in the related invoice.

                                                                                All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
Plenty Unlimited Inc.                             Litera                                                                                                                                             $0
                                                                                                                  agreements related thereto

                                                                             Master Services Agreement, all outstanding sales quotes and purchase orders, and all other service
Plenty Unlimited Inc.                       MBQ Cloud, Inc.                                                                                                                                     $67,600
                                                                                                        and ancillary agreements related thereto

                                                                            General Terms and Conditions, all service agreements, outstanding sales quotes and purchase orders,
Plenty Unlimited Inc.                     Mean Well USA INC.                                                                                                                                         $0
                                                                                                        and ancillary agreements related thereto


Plenty Unlimited Inc.              Metropolitan Life Insurance Company                           Insurance policy, and all ancillary agreements related thereto                                      $0


                                                                                All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
Plenty Unlimited Inc.                           Navan, Inc                                                                                                                                           $0
                                                                                                                  agreements related thereto

                                                                              Order Form issued under the Master Services Agreement, covering compliance awareness services
Plenty Unlimited Inc.                      NAVEX Global, Inc.               including digital templates, posters, brochures, wallet cards, and a micro learning course, with limited             $5,434
                                                                                                       standard customization and associated setup fees.

Plenty Unlimited Inc. / P F2 VA   NEWFRONT INSURANCE SERVICES                  Insurance proposal, including builders risk, owners interest general liability, and excess liability
                                                                                                                                                                                                $28,909
LLC                                           LLC                                  coverage, with policy summaries, exclusions, subjectivities, and premium breakdowns.

Plenty Unlimited Inc. / P F2 VA
                                      Newfront Retirement Services                               Insurance policy, and all ancillary agreements related thereto                                  $7,084
LLC

                                                                                All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
Plenty Unlimited Inc.                    Nielsen Consumer LLC                                                                                                                                        $0
                                                                                                                  agreements related thereto

                                                                             Master Services Agreement, all outstanding sales quotes and purchase orders, and all other service
P F2 VA LLC                                NOPE Compost Co.                                                                                                                                        TBD
                                                                                                        and ancillary agreements related thereto

Plenty Unlimited Inc. / P F2 VA                                                 All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
                                      North Coast Electric Company                                                                                                                                 TBD
LLC                                                                                                               agreements related thereto

Plenty Unlimited Inc. / P F2 VA
                                  Nutrien Ag Solutions, Inc - Watsonville                                           Warehouse Agreement                                                            TBD
LLC

                                                                                All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
Plenty Unlimited Inc.                         Nvoicepay, Inc                                                                                                                                     $2,443
                                                                                                                  agreements related thereto

Plenty Unlimited Inc. / P F2 VA                                                 All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
                                           OCS IntelliTrak, Inc.                                                                                                                       See Plan Art. V.D
LLC                                                                                                               agreements related thereto

                                                                                All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
Plenty Unlimited Inc.                    Onix Networking Group                                                                                                                                  $21,250
                                                                                                                  agreements related thereto

Plenty Unlimited Inc. / P F2 VA                                             General Terms and Conditions, all service agreements, outstanding sales quotes and purchase orders,
                                         Opulent Techno Pte. Ltd.                                                                                                                                  TBD
LLC                                                                                                     and ancillary agreements related thereto

                                                                                All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
Plenty Unlimited Inc.                   Pacific West Security, Inc                                                                                                                                 $755
                                                                                                                  agreements related thereto

                                                                            General Terms and Conditions, all service agreements, outstanding sales quotes and purchase orders,
Plenty Unlimited Inc.                           ParSource                                                                                                                                            $0
                                                                                                        and ancillary agreements related thereto




                                                                                               Page 3
                         Case 25-90105 Document 155 Filed in TXSB on 04/07/25 Page 10 of 11


             Debtor                          Counter Party                                              Description of assumed contract or lease                                     Cure Amount


                                                                               All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
Plenty Unlimited Inc.                     Paylocity Corporation                                                                                                                                 $595
                                                                                                                 agreements related thereto

Plenty Unlimited Inc. / P F2 VA                                                All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
                                             PB Tec USA Inc                                                                                                                         See Plan Art. V.D
LLC                                                                                                             agreements related thereto.

                                                                            All equipment rental agreements, standard terms and conditions, executed addenda, and any related
Plenty Unlimited Inc. / P F2 VA
                                     Pine Environmental Services LLC          service, maintenance, shipping, invoicing, or confidentiality obligations arising therefrom or in                 TBD
LLC
                                                                                                                  connection therewith.

                                                                            Master Services Agreement, all outstanding sales quotes and purchase orders, and all other service
Plenty Unlimited Inc.                     Prihoda North America                                                                                                                                   $0
                                                                                                       and ancillary agreements related thereto

                                                                               All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
Plenty Unlimited Inc.                   Procore Technologies, Inc.                                                                                                                                $0
                                                                                                                 agreements related thereto


Plenty Unlimited Inc.                   Realty Income Corporation                     Lease Agreement and all amendments and ancillary agreements related thereto                           $223,548


                                                                            Office Service Agreement, all outstanding sales quotes, proposals or purchase orders, and all other
Plenty Unlimited Inc.                Regus Management Group, LLC                                                                                                                                  $0
                                                                                                   service and ancillary agreements related thereto

                                                                           Customer Service Agreement, all outstanding sales quotes, proposals or purchase orders, and all other
Plenty Unlimited Inc.                     Republic Services, Inc                                                                                                                             $19,214
                                                                                                   service and ancillary agreements related thereto

Plenty Unlimited Inc. / P F2 VA                                                All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
                                                  Rexel                                                                                                                                         TBD
LLC                                                                                                              agreements related thereto

                                                                               All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
P F2 VA LLC                                    Riggers Inc                                                                                                                                      TBD
                                                                                                                 agreements related thereto

                                                                             Subscription Agreement, all outstanding sales quotes, proposals or purchase orders, and all other
Plenty Unlimited Inc.                           Righthub                                                                                                                                      $5,519
                                                                                                   service and ancillary agreements related thereto

                                                                            Supply Agreement, all outstanding sales quotes, proposals or purchase orders, and all other service
Plenty Unlimited Inc.                 Rocky Mountain Air Solutions                                                                                                                            $5,298
                                                                                                        and ancillary agreements related thereto


Plenty Unlimited Inc.                     Rocky Mountain Power                              Utility Service Contract and all ancillary agreements related thereto                             $4,541


                                                                               All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
Plenty Unlimited Inc.                           Salesforce                                                                                                                                      $896
                                                                                                                 agreements related thereto

Plenty Unlimited Inc. / P F2 VA                                                All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
                                         SAMCO Machinery Ltd                                                                                                                                    TBD
LLC                                                                                                              agreements related thereto

                                                                           SCS Professional Services Agreement, all outstanding sales quotes, proposals or purchase orders, and
Plenty Unlimited Inc.                      SCS Global Services                                                                                                                                    $0
                                                                                                all other service and ancillary agreements related thereto

Plenty Unlimited Inc. / P F2 VA                                            General Terms and Conditions, all service agreements, outstanding sales quotes and purchase orders,
                                            SendCutSend, Inc.                                                                                                                                   TBD
LLC                                                                                                    and ancillary agreements related thereto

                                                                            All services and software support agreements including: Adobe, Atlassian, Autodesk, CrowdStrike,
Plenty Unlimited Inc.                              SHI                      M365, Meraki, OKTA, OpsGenie, PFPT, Sumo Logic, VMWare, Microsoft 365 Teams, Amazon                             $130,126
                                                                                              Web Services, as well as all ancillary agreements related thereto

                                                                            Services agreement, all outstanding sales quotes, proposals or purchase orders, and all other service
Plenty Unlimited Inc.                        Spring Care, Inc.                                                                                                                                    $0
                                                                                                          and ancillary agreements related thereto


Plenty Unlimited Inc.                  Standard Insurance Company                              Insurance policy, and all ancillary agreements related thereto                                     $0


                                                                               All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
Plenty Unlimited Inc.                     STITCHDATA.COM                                                                                                                                          $0
                                                                                                                 agreements related thereto

                                                                           General Terms and Conditions, all service agreements, outstanding sales quotes and purchase orders,
Plenty Unlimited Inc.                         Systecon LLC                                                                                                                                        $0
                                                                                                       and ancillary agreements related thereto

                                                                            Test Agreement for Watercress, all outstanding sales quotes, proposals or purchase orders, and all
Plenty Unlimited Inc.                    THE REGENTS OF U.C                                                                                                                                       $0
                                                                                                other service and ancillary agreements related thereto

                                  The Standard Life Insurance Company of
Plenty Unlimited Inc.                                                                          Insurance policy, and all ancillary agreements related thereto                                     $0
                                                New York

Plenty Unlimited Inc. / P F2 VA                                                All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
                                             Timmons Group                                                                                                                                      TBD
LLC                                                                                                              agreements related thereto




                                                                                              Page 4
                         Case 25-90105 Document 155 Filed in TXSB on 04/07/25 Page 11 of 11


             Debtor                           Counter Party                                            Description of assumed contract or lease                                    Cure Amount


Plenty Unlimited Inc. / P F2 VA                                               All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
                                              Trane U.S. Inc.                                                                                                                     See Plan Art. V.D
LLC                                                                                                             agreements related thereto

                                                                               All outstanding sales quotes or purchase orders and all ancillary agreements, including the
Plenty Unlimited Inc.                      TrySparrow.com, Inc                                                                                                                                  $0
                                                                                                       Nondisclosure Agreement, related thereto

Plenty Unlimited Inc. / P F2 VA                                           Global Service Agreement, all outstanding sales quotes and purchase orders, and all other service and
                                                 UL LLC                                                                                                                                       TBD
LLC                                                                                                       ancillary agreements related thereto

Plenty Unlimited Inc. / P F2 VA                                            Master Services Agreement, all outstanding sales quotes and purchase orders, and all other service
                                           UniFirst Corporation                                                                                                                               TBD
LLC                                                                                                   and ancillary agreements related thereto

                                                                           Master Services Agreement, all outstanding sales quotes and purchase orders, and all other service
Plenty Unlimited Inc.                         urban-gro, Inc.                                                                                                                                   $0
                                                                                                      and ancillary agreements related thereto

Plenty Unlimited Inc. / P F2 VA                                            Master Services Agreement, all outstanding sales quotes and purchase orders, and all other service
                                                 Verizon                                                                                                                                    $3,175
LLC                                                                                                   and ancillary agreements related thereto

                                  Whiting-Turner Contracting Company and AIA Document A102-2017 Standard Form of Agreement, all outstanding sales quotes, proposals or
P F2 VA LLC                                                                                                                                                            See Plan Art. V.D
                                    Subcontractors to the Virginia Farm          purchase orders, and all other service and ancillary agreements related thereto

Plenty Unlimited Inc. / P F2 VA                                               All outstanding sales quotes, proposals or purchase orders, and all other service and ancillary
                                            Wilco Imaging Inc                                                                                                                                 TBD
LLC                                                                                                             agreements related thereto

                                                                            Insurance proposal, including D&O, Crime, Fiduciary liability, and Cyber liability coverage, with
Plenty Unlimited Inc.                     Woodruff-Sawyer & Co.                                                                                                                                 $0
                                                                                        policy summaries, exclusions, subjectivities, and premium breakdowns.

                                                                          General Terms and Conditions, all service agreements, outstanding sales quotes and purchase orders,
Plenty Unlimited Inc.                            YSI Inc                                                                                                                                    $9,652
                                                                                                      and ancillary agreements related thereto




                                                                                            Page 5
